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        UNITED STATES DISTRICT COURT
         SOUTHERN DISTRICT OF OHIO


                         CERTIFICATE OF

                         GOOD STANDING

           I, Richard W. Nagel, Clerk of this Court, certify that

                      Thomas Elliot Gaiser (0096145)

               was duly admitted to practice in this Court on

                                 July 11, 2023

      and is in good standing as a member of the Bar of this Court.

                 Dated at Dayton, Ohio on June 18, 2024



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